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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                         CASE NO.: 25-20018-CR-MORENO

  UNITED STATES OF AMERICA,

        Plaintiff,

  vs.

  MARIA JOSE ZACARIAS SABA,

        Defendant.
  __________________________________/

                            NOTICE OF ASSIGNMENT

        The Federal Public Defender's Office for the Southern District of Florida

  gives notice that the above-captioned case has been assigned to Assistant Federal

  Public Defender Leticia M. Olivera. Please direct any future inquiries, pleadings or

  correspondence to Leticia M. Olivera on behalf of the Defendant, Maria Jose

  Zacarias Saba.

                                        Respectfully submitted,

                                        HECTOR A. DOPICO
                                        FEDERAL PUBLIC DEFENDER

                                  By:   /s/Leticia M. Olivera
                                        Leticia M. Olivera
                                        Assistant Federal Public Defender
                                        Special A. No.: A5503215
                                        150 W. Flagler Street, Suite 1700
                                        Miami, Florida 33130
                                        Tel: 305-530-7000
                                        E-Mail Address: Leticia_olivera@fd.org
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                             CERTIFICATE OF SERVICE

        I HEREBY certify that on February 7, 2025, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that

  the foregoing document is being served this day on all counsel of record or pro se

  parties, either via transmission of Notices of Electronic Filing generated by

  CM/ECF or in some other authorized manner for those counsel or parties who are

  not authorized to receive electronically Notices of Electronic Filing.


                                          /s/Leticia M. Olivera
                                          Leticia M. Olivera




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